                                      CASE 0:20-cr-00078-DSD-DTS Doc. 3 Filed 01/21/20 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )               BEFORE: Katherine M. Menendez
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )     Case No:              20-mj-21 DTS
                                                            )     Date:                 January 21, 2020
Jeffrey L Rewey,                                            )     Courthouse:           Minneapolis
                                                            )     Courtroom:            8E
                                         Defendant,         )     Time Commenced:       2:07 p.m.
                                                                  Time Concluded:       2:14 p.m.
                                                                  Time in Court:        7 minutes
APPEARANCES:
   Plaintiff: Lauren Roso, Assistant U.S. Attorney
   Defendant: Doug Micko, Assistant Federal Public Defender
                         X FPD          X To be appointed

   Date Charges Filed: 1/17/2020                           Offense: Felon in possession of a firearm; Possession with intent to
                                                                                distribute 50 grams or more of a mixture and
                                                                                substance containing a detectable amount of
                                                                                methamphetamine

   X Advised of Rights

on          X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is January 23, 2020 at 2:30 p.m. before U.S. Magistrate Judge Katherine M. Menendez in CR8E,
Minneapolis for:
 X Detention hrg        X Preliminary hrg




Additional Information:

                                                                                                     s/Sarah Erickson
                                                                                                   Signature of Courtroom Deputy




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